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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 BECTON, DICKINSON AND COMPANY;                  )
 CAREFUSION 303, INC.;                           )
 CAREFUSION MANUFACTURING, LLC;                  )
 CAREFUSION SOLUTIONS, LLC; and                  )
 BD SWITZERLAND S.À.R.L.,                        )       C.A. No. _________________
                                                 )
                        Plaintiffs,              )       JURY TRIAL DEMANDED
                                                 )
                v.                               )
                                                 )
 BAXTER INTERNATIONAL INC. and                   )
 BAXTER HEALTHCARE                               )
 CORPORATION,                                    )
                                                 )
                        Defendants.              )

                      COMPLAINT FOR PATENT INFRINGEMENT

       1.      This is an action for infringement of U.S. Patent Nos. 11,289,180 (the “ʼ180

patent”), 11,901,058 (the “’058 patent”), 11,324,880 (the “’880 patent”), 12,278,868 (the “’868

patent”), 12,028,414 (the “’414 patent”), and 12,205,703 (the “’703 patent”) (collectively, the

“Asserted Patents”), arising under the patent laws of the United States, Title 35, United States

Code § 100, et seq. This action arises out of the infringing manufacture, use, importation, offer

for sale, and/or sale by Defendants Baxter International Inc. and Baxter Healthcare Corporation

(collectively, “Defendants” or “Baxter”) of an infusion platform called “Novum IQ Infusion

Platform.”   Plaintiffs Becton, Dickinson and Company; CareFusion 303, Inc.; CareFusion

Manufacturing, LLC; CareFusion Solutions, LLC; and BD Switzerland S.à.r.l. (collectively,

“Plaintiffs” or “BD”) bring this action to remedy widespread infringement of the Asserted Patents

through Baxter’s activities relating to the Novum IQ Infusion Platform.

       2.      BD is one of the largest global medical technology companies in the world. BD

develops and sells innovative technology, services, and solutions that advance both clinical therapy
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for patients and clinical process for health care providers. For example, BD’s infusion pumps are

used to continuously or intermittently deliver fluids, medications, blood or blood products to adult,

pediatric, or neonatal patients.1 BD’s innovations improve safety and security standards for

infusion delivery by accurately delivering infusions and simplifying workflows.

        3.      For example, BD’s Alaris™ Infusion System is the only modular and most

comprehensive infusion system in the United States, including large volume pumps, syringe and

patient-controlled analgesia (“PCA”) pumps, respiratory monitoring, and dose-error reduction

software. The groundbreaking system together with interoperability, infusion sets, accessories,

and fluids helps to mitigate risks across health professionals’ infusion workflow by allowing them

to efficiently manage infusion administration while reducing errors and helping protect patient

infusions.   The Alaris™ Infusion System helps forward-thinking healthcare systems create

automated workflows that can improve medication safety. It is built to support smart infusion

therapies across care settings and specialties, including, for example, oncology, pain management,

critical care, intensive care unit, medical-surgical unit, outpatient, neonatal intensive care unit, and

pediatric intensive care unit.

        4.      BD’s success is rooted in its scientific innovation and patient-focused research and

development. These efforts have resulted in the United States Patent Office granting BD dozens

of patents on infusion pump technologies, including the Asserted Patents. The Asserted Patents




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  Infusion pumps are medical devices used to administer fluids, typically through an intravenous
(“IV”) line. Infusion pumps typically come in one of several forms, including large-volume pumps
(“LVP”), which are used to deliver large volumes of fluids, and syringe pumps, which are used to
deliver smaller volumes. For example, LVPs typically deliver fluids from large IV bags (e.g.,
1000 mL bags) whereas syringe pumps deliver fluids from small syringes (e.g., 10 mL syringes).
Infusion pumps are typically used in hospitals or similar medical facilities that, in many cases,
have electronic information systems to manage medication orders and/or electronic medical
records (“EMR”).


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relate to groundbreaking infusion pump technologies designed to improve patient care, including

through enhancing interoperability, integrating infusion pumps with electronic medical records

systems, simplifying workflows, decreasing programming steps, reducing errors, and ensuring

accurate delivery of infusions.       The Asserted Patents reflect BD’s substantial innovation,

investment, and leadership in the field of infusion solutions. BD has a long history of advancing

the field of infusion pumps and is committed to protecting its innovative intellectual property from

infringers like Baxter that use BD’s technology without permission.

       5.      Baxter markets an infringing infusion platform called the “Novum IQ Infusion

Platform,” which includes multiple types of infusion pumps and software for monitoring and

managing the infusion pumps (the “Novum IQ Infusion Platform”). Baxter’s Novum IQ Infusion

Platform, part of which is shown below, unlawfully uses BD’s innovative, patented technology,

by infringing the Asserted Patents:




       6.      For example, Baxter’s marketing materials for the Novum IQ Infusion Platform

tout a number of core features including an “On-screen Barcode,” “Over-the-Air Updates,” a

“Backlit Keypad & Ambient Light Sensor,” and certain user interfaces:


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       7.     But Baxter did not invent any of those core features. It was BD that invented and/or

patented those features before Baxter’s Novum IQ Infusion Platform was launched.

       8.     Baxter’s infringement of the Asserted Patents is willful, and if allowed to continue

will stifle innovation within the medical technology industry. Protecting BD’s hard work,

investment, and innovation—all of which the Asserted Patents reflect—is essential to upholding

the standards of care for patients and ensuring continuous advancements in medical technology.

Baxter’s unlawful use of BD’s patented innovations without permission in its infringing infusion

platform, including the Novum IQ Infusion Platform, entitles BD to damages and injunctive relief.

                                       I.     PARTIES

       A.     Plaintiffs

       9.     Becton, Dickinson and Company is a corporation organized and existing under the

laws of the State of New Jersey, with its principal place of business at 1 Becton Drive, Franklin

Lakes, New Jersey, 07417-1880.


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       10.     CareFusion 303, Inc., CareFusion Manufacturing, LLC, and CareFusion Solutions,

LLC are companies organized and existing under the laws of the State of Delaware, with their

principal place of business at 3750 Torrey View Court, San Diego, California, 92130.

       11.     BD Switzerland S.à.r.l. is a company organized and existing under the laws of

Switzerland, with its principal place of business located at Terre Bonne Park-A4, Route de Crassier

17, 1262 Eysins, Switzerland.

       B.      Defendants

       12.     On information and belief, Baxter International Inc. and Baxter Healthcare

Corporation are corporations organized and existing under the laws of the State of Delaware, with

their principal place of business at One Baxter Parkway, Deerfield, Illinois, 60015. Upon

information and belief, Baxter Healthcare Corporation is a wholly owned subsidiary of Baxter

International Inc.

                             II.      NATURE OF THE ACTION

       13.     This action arises under the patent laws of the United States, Title 35 of the United

States Code, including 35 U.S.C. § 271.

       14.     BD brings this action to seek relief for Baxter’s infringement of the Asserted

Patents. True and correct copies of the Asserted Patents are attached hereto as Exhibits A–F.

                            III.     JURISDICTION AND VENUE

       15.     This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       16.     The Court has personal jurisdiction over Baxter International Inc. and Baxter

Healthcare Corporation because they are companies organized and existing under the laws of

Delaware.


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       17.     Furthermore, on information and belief, Baxter International Inc. and Baxter

Healthcare Corporation have purposely availed themselves of the rights and benefits of the laws

of Delaware by engaging in persistent, systematic, and continuous contacts with Delaware.

Among other things, Baxter International Inc. and Baxter Healthcare Corporation are in the

business of marketing medical devices, which they distribute and sell throughout the United States,

including in Delaware. This lawsuit arises out of Baxter International Inc.’s and Baxter Healthcare

Corporation’s infringing activity, including, without limitation, using, distributing, selling,

offering to sell, and/or importing infringing products in Delaware and/or direct or indirect

infringement in Delaware.

       18.     Venue is proper in this Court under 28 U.S.C. 1400(b) because Baxter International

Inc. and Baxter Healthcare Corporation are incorporated in Delaware.

                              IV.     THE ASSERTED PATENTS

       A.      The ’180 patent

       19.     The ’180 patent is entitled “Medical Device with Information Reader,” and was

duly and legally issued on March 29, 2022, by the United States Patent and Trademark Office. BD

owns all right, title, and interest in and to the ’180 patent. A true and correct copy of the ’180

patent is attached as Exhibit A.

       20.     The ʼ180 patent relates to a novel infusion pump that integrates seamlessly into a

medical environment by rendering a scannable tag on a display and, after an information reader

scans both the scannable tag and a barcode on a medication, receiving the parameters needed to

administer the medication in an infusion. The claimed solution enables the infusion pump to be

programmed to administer the infusion using a single information reader that scans both the tag

on the display of the pump and the barcode on the medication. Compared to existing solutions

that used two barcode scanners—one attached to the pump and a separate EMR scanner—the


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claimed approach uses less hardware and takes fewer steps to program. Moreover, by rendering

the scannable tag on the pump’s display, the claimed solution ensures the correct pump-barcode

association and makes efficient use of the limited space on the face of the pump.

       21.     Claim 1 of the ʼ180 patent recites:

               1. An infusion pump for medication infusion within a medical
               environment, the infusion pump comprising:

               a display;

               at least one data processor; and

               at least one memory including a computer program code, the at least
               one memory and the computer program code configured to, with the
               at least one data processor, cause the infusion pump to:

               render a scannable tag on the display of the infusion pump, wherein
               the scannable tag is configured to be readable by an information
               reader and is configured to provide medical device information
               uniquely identifying the infusion pump after being scanned by the
               information reader; and

               receive medication information about medication to be administered
               to a patient by the infusion pump, the medication information
               including at least one of an infusion parameter of the medication, a
               medication name, or a medication order identifier,

               wherein the infusion pump is configured to receive the medication
               information after the information reader scans a medication barcode
               on the medication to be administered to the patient.

       22.     The ʼ180 patent further relates to an infusion pump that, in addition to having the

features described above, receives a request for communicative coupling from a server after

scanning the scannable tag. A dialog is rendered on the pump’s display to acknowledge the

request. These connectivity features form the technological foundation for interoperability, e.g.,

integration of the infusion pump with the medical facility’s EMR system, which has been

transformative in expanding and improving the capabilities of infusion pumps in modern, data-

centric healthcare environments.



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       23.     Claim 13 of the ʼ180 patent recites:

               13. The infusion pump of claim 1, wherein the at least one memory
               and the computer program code are further configured to, with the
               at least one data processor, cause the infusion pump to:

               connect to a communication network;

               receive, from a server connected to the communication network and
               after scanning of the scannable tag, a request for communicative
               coupling with the infusion pump; and

               render, on the display, a dialog to acknowledge the request.

       24.     The ʼ180 patent further relates to an infusion pump that, in addition to having the

features described above, provides a scannable tag that has routing information for routing

medication information to the infusion pump. The routing information can include, for example,

connectivity parameters or authentication information. These routing capabilities further enhance

the infusion pump’s ability to be interoperable with an EMR system, as explained above.

       25.     Claims 8 and 9 of the ʼ180 patent recite:

               8. The infusion pump of claim 1, wherein the scannable tag further
               comprises routing information defining parameters for routing the
               medication information to the infusion pump.

               9. The infusion pump of claim 8, wherein the routing information
               comprises at least one of: connectivity parameters of the infusion
               pump or authentication information of the infusion pump.

       26.     The ʼ180 patent further relates to an infusion pump that, in addition to having the

features described above, administers parenteral infusions of at least 100 mL of fluid from a

container. These capabilities, in conjunction with the ability to render a scannable tag and receive

medication administration parameters, enable a pump that can be automatically programmed to

deliver large volumes of fluid (e.g., medication, nutrients).




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       27.      Claims 15 the ʼ180 patent recites:

                15. The infusion pump of claim 1, wherein the at least one memory
                and the computer program code are further configured to, with the
                at least one data processor, cause the infusion pump to administer a
                parenteral infusion of at least 100 mL of fluid from a container.

       B.       The ’058 patent

       28.      The ’058 patent is entitled “Associating An Information Reader And A Medical

Device,” and was duly and legally issued on February 13, 2024, by the United States Patent and

Trademark Office. The ’058 patent is in the same family as the ’180 patent. BD owns all right,

title, and interest in and to the ’058 patent. A true and correct copy of the ’058 patent is attached

as Exhibit B.

       29.      The ʼ058 patent relates to a novel infusion pump that integrates seamlessly into a

medical environment by rendering a barcode on a display, after a barcode reader scans both the

pump’s barcode and an infusion barcode on an infusion to be administered, receiving the infusion

information needed to administer the infusion, and operating to cause administration of the

infusion based on the received infusion information. The claimed solution enables the infusion

pump to be programmed to administer the infusion using a single information reader that scans

both the tag on the display of the pump and the barcode on the medication. Compared to existing

solutions that used two barcode scanners—one attached to the pump and a separate EMR

scanner—the claimed approach uses less hardware and takes fewer steps to program. Moreover,

by rendering the barcode on the pump’s display, the claimed solution ensures the correct pump-

barcode association and makes efficient use of the limited space on the face of the pump.

       30.      Claim 1 of the ʼ058 patent recites:

                1. An infusion pump for infusion within a medical environment, the
                infusion pump comprising:

                a display;


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              a wireless module configured to communicate with a wireless
              network;

              at least one data processor; and

              at least one memory including computer program code, the at least
              one memory and the computer program code configured to, with the
              at least one data processor, cause the infusion pump to at least:

              render a barcode on the display of the infusion pump, wherein the
              barcode is configured to be scanned by a barcode reader;

              configure the infusion pump for receiving infusion information;

              receive, via the wireless module, infusion information about an
              infusion to be administered to a patient after the barcode reader
              scans the barcode on the display of the infusion pump and an
              infusion barcode on the infusion to be administered, the infusion
              information including at least one of an infusion parameter of the
              infusion to be administered, an infusion name, or an infusion order
              identifier; and

              operate, based at least on the received infusion information, to cause
              administration of the infusion.

       31.    The ʼ058 patent further relates to an infusion pump that, in addition to having the

features described above, provides a barcode that has routing information for routing infusion

information to the infusion pump. The routing information can include, for example, connectivity

parameters or authentication information. These routing capabilities further enhance the infusion

pump’s ability to be interoperable with an EMR system, as explained above.

       32.    Claims 5 and 6 of the ʼ058 patent recite:

              5. The infusion pump of claim 1, wherein the barcode further
              comprises routing information defining parameters for routing the
              infusion information to the infusion pump.

              6. The infusion pump of claim 5, wherein the routing information
              comprises at least one of: a connectivity parameter of the infusion
              pump or authentication information of the infusion pump.




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        C.      The ’880 patent

        33.     The ’880 patent is entitled “Infusion Monitoring System,” and was duly and legally

issued on May 10, 2022, by the United States Patent and Trademark Office. BD owns all right,

title, and interest in and to the ’880 patent. A true and correct copy of the ’880 patent is attached

as Exhibit C.

        34.     The ʼ880 patent relates to a novel infusion management and monitoring system that

uses a remote device (e.g., a server) separate from and in communication with an infusion pump

to display infusion information on a graphical user interface of a mobile communication device.

The infusion pump and the mobile communication device are located within the same healthcare

environment. The claimed solution provides an efficient mechanism for offering processing-

intensive data analytics within a healthcare environment, where hardware constraints limit the

available computing resources (e.g., the infusion pump’s processor) and display interfaces (e.g.,

the clinician’s mobile device).      The claimed solution efficiently distributes computational

workloads associated with infusion management and monitoring among the infusion pump, the

remote device, and the mobile communication device. For example, data processing is performed

using the remote device, which frees up limited computational resources on the infusion pump,

and the user interface is provided on the mobile communication device, which provides responsive,

interactive drill-down capabilities to the clinician.

        35.     The claimed solution also includes displaying an interactive timeline of infusion

events and respective event times and parameters characterizing operation of the infusion pump in

response to a user interaction with the timeline or the event times. These features deliver important

information to a healthcare provider in a format tailored for the healthcare environment, which

decreases the time a health care provider needs to spend filtering and analyzing data and reduces

error risks.


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       36.     Individually and collectively, these claimed features provide an innovative,

efficient way to deliver actionable information to clinicians in a healthcare environment while

navigating the hardware constraints associated with the healthcare environment.

       37.     Claim 1 of the ʼ880 patent recites:

               1. An infusion management and monitoring system comprising:

               an infusion pump; and

               a non-transitory computer readable medium comprising instructions
               executable by a processor to cause a remote device separate from
               and in communication with the infusion pump to:

               receive data for a medication to be administered to a patient via the
               infusion pump within a healthcare environment, the data for the
               medication comprising one or more of a medication name, a
               medication amount to be administered, or date or time data related
               to when the medication is scheduled to be administered;

               receive from the infusion pump data for administration of the
               medication to the patient, the data for the administration of the
               medication comprising one or more of a patient identifier, a
               medication container identifier, a medication type, a rate of
               medication administration, an infusion pump identifier, or one or
               more infusion events and respective event times;

               determine a status of the administration of the medication based on
               at least one of the data for the medication or the data for the
               administration of the medication; and

               transmit the status to a mobile communication device within the
               healthcare environment, the transmitting causing the mobile
               communication device to: provide, on a graphical user interface,
               information about the administration of the medication, wherein the
               information is a timeline of the infusion events and the respective
               event times; and provide, on the graphical user interface and in
               response to a user interaction with the information, parameters
               characterizing operation of the infusion pump.

       38.     The ʼ880 patent further relates to an infusion management and monitoring system

that, in addition to having the features described above, provides information from a plurality of

infusion pumps on the graphical user interface. These features highlight the scalability of the



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claimed solution – multiple infusion pumps can connect to the same remote device – which in turn

augments the functionality of the claimed graphical user interface and interactive timeline.

       39.      Claim 15 of the ʼ880 patent recites:

                15. The infusion management and monitoring system of claim 1,
                wherein information is from a plurality of infusion pumps, the
                plurality of infusion pumps including the infusion pump.

       D.       The ’868 patent

       40.      The ’868 patent is entitled “Remote Flashing During Infusion,” and was duly and

legally issued on April 15, 2025, by the United States Patent and Trademark Office. BD owns all

right, title, and interest in and to the ’868 patent. A true and correct copy of the ’868 patent is

attached as Exhibit D.

       41.      The ʼ868 patent relates to a novel infusion pump that wirelessly receives, from a

remote server, configuration information that includes a parameter to control dose error reduction

software and activates the configuration information during a clinically appropriate time to do so

based on the state of the pump. Using the claimed solution, an infusion pump wirelessly receives

an update to configuration information at any time, but it determines and then waits for a clinically

appropriate time to activate the update. As a result, the remote server can deploy updates to

infusion pumps across a hospital at the same time, even though a given pump may be in a clinically

inappropriate state to activate the update at the time the update is deployed (e.g., in the middle of

an infusion).

       42.      Configuring the infusion pump to determine a clinically appropriate time to activate

configuration information for dose error reduction software received from a remote server enables

safe and efficient remote updating of infusion pumps at scale compared to existing approaches.

For example, activating an update to configuration information for dose error reduction software

without waiting for a clinically appropriate time creates a risk of unintentionally interrupting an


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ongoing infusion or causing unexpected changes in dosage or rate, with potentially dangerous

consequences to the patient. To mitigate this risk, existing approaches to updating infusion pumps

involved removing infusion pumps from service one-by-one, or in small batches, and moving them

to a maintenance area of the medical facility (e.g., a basement) so there was no risk of activating

an update when a pump was in a clinically inappropriate state. But these approaches were

inefficient, error-prone, and created other risks, such as infusion pumps using outdated

configuration parameters with patients if they fell toward the end of a given update cycle.

       43.     The claimed solution addresses these problems because a remote server wirelessly

delivers updates for configuration parameters for dose error reduction software to infusion pumps,

and the individual pumps independently and autonomously decide when to activate the updates

based on their respective states to ensure that the update “does not interfere with patient treatment.”

’868 patent, 11:60-61.      Using the claimed solution, a remote server deploys updates for

configuration parameters for dose error reduction software to a fleet of infusion pumps at the same

time, without removing the pumps from service, and without risk that the updates are activated at

a clinically inappropriate time. For example, the specification discloses and the claims recite that

the infusion pump, when identifying a state of the infusion pump, may determine that the infusion

pump state is after receiving a power-up command for the infusion pump, or is after receiving a

power-down command for the infusion pump.              These features emphasize the autonomy of

individual infusion pumps to activate the update at a clinically appropriate time relative to their

internal operation, irrespective of when the update is received.

       44.     Claim 1 of the ʼ868 patent recites:

               1. An infusion pump comprising:

               at least one data processor; and




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               at least one memory including computer program code, the at least
               one memory and the computer program code configured to, with the
               at least one data processor, cause the infusion pump to:

               receive, over a wireless communication channel and from the
               remote server, configuration information for the infusion pump, the
               configuration information comprising at least one parameter to
               control dose error reduction software for the infusion pump;

               identify a state of the infusion pump, wherein the state includes at
               least one of prior to administering the infusion to the patient, while
               administering the infusion to the patient, after administering the
               infusion to the patient, after receiving a power-up command for the
               infusion pump, or after receiving a power-down command for the
               infusion pump;

               determine a clinically appropriate time for the infusion pump to
               activate the configuration information received over the wireless
               communication channel and from the remote server, based on the
               identified state of the infusion pump; and

               during the clinically appropriate time for the infusion pump to
               activate the configuration information, activate the configuration
               information such that the dose error reduction software of the
               infusion pump operates based on the at least one parameter.

       45.     The ʼ868 patent further relates to an infusion pump that, in addition to having the

features described above, may receive the configuration information for the infusion pump while

an infusion is being administered. These features emphasize the flexibility of the infusion pump

to operate efficiently through automatic update distribution by making an independent

determination about when to activate the updates to ensure that updates are activated at a clinically

appropriate time relative to their internal operation, irrespective of when the update is received.

       46.     Claim 24 of the ’868 patent recites:

               24. The infusion pump of claim 1, wherein the at least one memory
               and the computer program code are further configured to, with the
               at least one data processor, cause the infusion pump to: while the
               infusion pump is administering the infusion to the patient, receive
               the configuration information for the infusion pump.




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       E.      The ’414 patent

       47.     The ’414 patent is entitled “Remote Flashing During Infusion,” and was duly and

legally issued on July 2, 2024, by the United States Patent and Trademark Office. The ’414 patent

is in the same family as the ’868 patent. BD owns all right, title, and interest in and to the ’414

patent. A true and correct copy of the ’414 patent is attached as Exhibit E.

       48.     The ʼ414 patent relates to a novel infusion pump that wirelessly receives

configuration information from a remote server and activates the configuration information after

determining a clinically appropriate time to do so based on the state of the pump, as described

above for the ’868 patent. In addition to these features, the ’414 patent describes that the

configuration information includes a parameter that is used to control a predetermined infusion by

the infusion pump. Using the claimed solution, a remote server can update the parameters that

control a predetermined infusion without risk that the update is activated at a clinically

inappropriate time.

       49.     Claim 1 of the ʼ414 patent recites:

               1. An infusion pump comprising:

               a data processor; and

               non-transitory memory storing computer-readable instructions that,
               when executed by the processor, cause the infusion pump to:

               receive, via a wireless communication interface and from a remote
               server, configuration information for the infusion pump, the
               configuration information comprising medication administration
               information indicating a parameter to control a predetermined
               infusion by the infusion pump;

               identify a state of the infusion pump as being prior to administering
               the infusion to the patient, while administering the infusion to the
               patient, or after administering the infusion to the patient;

               determine a clinically appropriate time for the infusion pump to
               activate the received configuration information, based on the


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               identified state of the infusion pump being at least one of prior to
               administering the infusion to the patient, while administering the
               infusion to the patient, or after administering the infusion to the
               patient; and

               after determining the clinically appropriate time for the infusion
               pump to activate the configuration information, activate the
               configuration information such that the infusion pump is configured
               to operate based on the configuration information.

       50.     The ʼ414 patent further relates to an infusion pump that, in addition to having the

features described above, determines the clinically appropriate time to activate the received

updates based on specific factors tied to the operation of the infusion pump, such as the state of

the infusion pump relative to the administration of medication. These features emphasize the

autonomy of individual infusion pumps to activate the update at a clinically appropriate time

relative to their internal operation, irrespective of when the update is received.

       51.     Claim 10 of the ’414 patent recites:

               10. The infusion pump of claim 1, wherein the computer-readable
               instructions, when executed by the processor, cause the infusion
               pump to:

               determine the time based on a determination that the state of the
               infusion pump is before administration of a medication to the patient
               or after the administration of the medication to the patient.

       F.      The ’703 patent

       52.     The ’703 patent is entitled “Displaying Visual Elements On A Medical Device,”

and was duly and legally issued on January 21, 2025, by the United States Patent and Trademark

Office. BD owns all right, title, and interest in and to the ’703 patent. A true and correct copy of

the ’703 patent is attached as Exhibit F.

       53.     The ʼ703 patent relates to a novel infusion pump that has a multi-color display that

displays visual elements according to visual profiles that are activated based on pump’s treatment

parameters using a rules-based selection process and an ambient light sensor that produces a signal


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used to adjust the pump’s brightness. The claimed solution enabled infusion pumps to harness the

capabilities of multi-color displays at a time when many infusion pumps used monochrome and/or

alphanumeric displays. For example, the claimed solution allows different visual profiles (e.g.,

different ways of structuring and presenting specific infusion-related information to the user) to be

used depending on the treatment being administered by the infusion pump and a different

brightness to be used depending on the ambient light in the vicinity of the pump (e.g., a dark

operating room environment versus a bright neonatal care environment). These features cause the

pump to operate the multi-color display in a manner that reduces errors and improves patient care.

       54.     Claim 1 of the ’703 patent recites:

               1. An infusion pump comprising:

               a multi-color display configured to display a plurality of visual
               elements wherein at least two visual elements of the plurality of
               visual elements are associated with a function of the infusion pump;

               an ambient light sensor;

               a processor; and

               a non-transitory memory storing executable instructions that, when
               executed by the processor, cause the infusion pump to:

               determine a state of the infusion pump corresponding to an operating
               parameter associated with a treatment provided by the infusion
               pump;

               determine, based on the state of the infusion pump, that a rule for a
               visual profile selection is satisfied;

               activate, based on the rule for the visual profile selection, a visual
               profile of the infusion pump;

               display, on the multi-color display of the infusion pump, a first
               visual element according to the visual profile;

               receive a signal generated by the ambient light sensor; and

               adjust a brightness of the infusion pump, based on the signal
               generated by the ambient light sensor.


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       55.     The ’703 patent further relates to an infusion pump that, in addition to having the

features described above, determines the visual profile for the multi-color display, using a rules-

based process that maximizes the pump’s limited display space to provide an interface with the

information needed to convey clinically significant information in an easy-to-use format. These

features highlight how the claimed solution can use the capabilities of the multi-color display to

more effectively convey specific information about the pump (e.g., the care area where the pump

is operating, the pump’s power state, or its drug library) than existing solutions.

       56.     Claims 9, 10, 13, and 14 of the ’703 patent recite:

               9. The infusion pump of claim 1, wherein the executable
               instructions, when executed by the processor, cause the infusion
               pump to: receive a user input designating a care area where the
               infusion pump will administer the treatment.

               10. The infusion pump of claim 1, wherein the executable
               instructions, when executed by the processor, cause the infusion
               pump to:

               determine a power state of the infusion pump; and

               display an additional visual element based on the power state of the
               infusion pump.

               13. The infusion pump of claim 1, wherein the executable
               instructions, when executed by the processor, cause the infusion
               pump to:

               receive a user input identifying a care area;

               determine, based on the care area, that an additional rule for the
               visual profile selection is satisfied;

               activate, based on the additional rule for the visual profile selection,
               a visual profile of the infusion pump based on the care area; and

               display, on the multi-color display of the infusion pump, a visual
               profile based on the care area associated with the infusion pump.

               14. The infusion pump of claim 1, wherein the executable
               instructions, when executed by the processor, cause the infusion
               pump to:


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               determine, based on a drug library, that a second rule for the visual
               profile selection is satisfied;

               activate, based on the second rule for the visual profile selection, a
               visual profile of the infusion pump based on the drug library; and

               display, on the multi-color display, the visual profile based on the
               drug library.

       57.     The ’703 patent further relates to an infusion pump that, in addition to having the

features described above, has a backlight that is adjusted based on the signal from the ambient

light sensor. The use of a backlight in conjunction with the multi-color display provides further

flexibility for the pump to display information in a variety of clinical environments in an effective

manner that improves patient safety.

       58.     Claim 15 of the ’703 patent recites:

               15. The infusion pump of claim 1, wherein the executable
               instructions, when executed by the processor, cause the infusion
               pump to: adjust a backlight of the infusion pump, based on the signal
               generated by the ambient light sensor.

          V.      BAXTER’S INFRINGEMENT OF THE ASSERTED PATENTS

       59.     Baxter’s Novum IQ Infusion Platform includes multiple types of infusion pumps

and associated software products. For example, Baxter currently sells and offers for sale in the

United States, the Novum IQ LVP, which received FDA 510(k) clearance on March 29, 2024, and

the Novum IQ Syringe Pump, which received FDA 510(k) clearance on August 30, 2022. On

information and belief, Baxter also currently sells and offers for sale in the United States the IQ

Enterprise Connectivity Suite, which enables monitoring and management of Novum IQ pumps,

the DeviceVue Asset Tracking Application, which enables clinicians to locate Novum IQ pumps

within a medical facility, and the Dose IQ Safety Software, which enables drug libraries to be

wirelessly deployed to Novum IQ pumps. The “Accused Infusion Systems” referred to below

include the Baxter products described above, including the Baxter Novum IQ Infusion Platform.


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       60.     On information and belief, Baxter has imported and will import the Novum IQ LVP

and the Novum IQ Syringe Pump into the United States. Baxter also maintains a US website on

which it advertises the Novum IQ Infusion Platform and through it distributes brochures and

marketing materials for the Novum IQ LVP, the Novum IQ Syringe Pump, and the IQ Enterprise

Connectivity Suite.2

       61.     On information and belief, the Novum IQ LVP and the Novum IQ Syringe Pump

are substantially the same in the aspects discussed below. Unless otherwise specified, references

to the Novum IQ pumps include both types of pumps.

               1.      “On-screen barcodes”

       62.     The Accused Infusion Systems include an on-screen scannable tag or barcode that

infringes one or more claims of the ʼ180 and ’058 patents. For example, the Novum IQ Infusion

Platform Site describes the Novum IQ pumps as having “[o]n-screen barcodes with scan prompts

ensure that pumps are correctly identified, helping to provide safety and efficiency during auto-

programming and drive auto-programming compliance.” Novum IQ Launch Site includes a

photograph of a Novum IQ pump depicting the on-screen barcode and scan prompts.




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  See https://ushospitalproducts.baxter.com/novum-iq-infusion-platform (“Novum IQ Infusion
Platform Site”); https://www.baxterglobal.com/LP_US_NovumIQ_LVP_Launch (“Novum IQ
Launch      Site”);     https://ushospitalproducts.baxter.com/sites/g/files/ebysai2186/files/2024-
03/IQ_Enterprise_Brochure_0.pdf (“IQ Enterprise Brochure”).


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Novum IQ Launch Site.

       63.     The Novum IQ pumps are communicatively coupled with a server in a manner that

infringes one or more claims of the ʼ180 patent. For example, Novum IQ Infusion Platform Site

describes the Novum IQ pumps as “[e]nabl[ing] seamless interoperability between your infusion

pumps and your EMR system, supporting a broad range of pump programming workflows.”

Novum IQ Launch Site explains that these interoperability features are enabled by the on-screen

barcode, stating that “[v]isibility supports interoperability: A clear and highly visible exclusive,

onscreen barcode supports more integrated infusion as part of the auto-programming workflow.”

               2.      “Infusion Story”

       64.     The Accused Infusion Systems provide an interactive timeline of infusion events

that infringes one or more claims of the ʼ880 patent. For example, IQ Enterprise Brochure

describes a feature called “Infusion Story” that provides an interactive “chronological depiction”

of infusion events. IQ Enterprise Brochure at 6. Infusion Story’s chronological depiction “enables

data drilldown into every individual infusion on every individual pump, illustrating every limit

alert encountered, every start and stop time, and every rate change.” Id. On information and belief,

the IQ Enterprise Connectivity Suite causes the chronological depiction to be displayed on a


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mobile communication device within a healthcare environment, as shown, in the photograph

below.




https://infusiontechnology.baxter.ca/integrated-clinical-software-solutions/iq-enterprise-

connectivity-suite (Baxter’s Canadian website for IQ Enterprise).

         65.   The Accused Infusion Systems also distribute computational workloads among the

infusion pump, remote device, and mobile communication device in a manner that infringes one

or more claims of the ʼ880 patent. For example, IQ Enterprise Brochure explains that data is

processed using a remote device (e.g., a server), and a user interface is provided on a mobile

communication device. IQ Enterprise Brochure at 2 (“The IQ Enterprise Connectivity Suite is a

scalable all-in-one server, integration engine and software application platform designed for the

Novum IQ Infusion Platform to simplify infusion system connectivity”); id. at 2-10 (showing IQ

Enterprise user interfaces on various mobile communication devices). IQ Enterprise Brochure


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highlights how this configuration offers “scalability” and can accommodate deployments “from

the smallest hospital to the largest enterprise.” Id. at 4.

                3.      “Over-the-air updates”

        66.     The Accused Infusion Systems receive and activate configuration information from

a remote server in a manner that infringes one or more claims of the ’868 and ʼ414 patents. For

example, Novum IQ Launch Site states that the Novum IQ pumps support “over-the-air firmware

and drug library updates to allow pumps to stay on the floor and ensure nurses have the most up-

to-date drug library and software.” IQ Enterprise Brochure explains that this feature “[g]ives

clinicians timely access to the latest infusion protocols and infusion administration safety limits”

and “[s]aves time and enhances efficiency for biomedical engineers, who no longer have to take

pumps off the floor for firmware updates.” IQ Enterprise Brochure at 5. On information and

belief, the Novum IQ pumps activate the received configuration information at clinically

appropriate times.

                4.      “Color LCD” Display and “Ambient Light Sensor”

        67.     The Accused Infusion Systems have a color LCD display with multiple visual

profiles and an ambient light sensor to adjust the pump’s brightness that infringe one or more

claims of the ’703 patent. For example, the Novum IQ Infusion Platform’s marketing website

depicts the Novum IQ pump’s multi-color display in different configurations (e.g., different colors

and arrangements of visual elements) depending on the state of the pump.




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https://www.baxterglobal.com/novum-iq-platform/.

       68.    The Novum IQ Infusion Platform’s marketing website further explains that the

Novum IQ pump has an “Ambient Light Sensor” to “[a]utomatically adjust[] screen brightness to

the room,” as shown below.




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https://www.baxterglobal.com/novum-iq-platform/.

       69.     Claim charts showing how Baxter’s Novum IQ Infusion Platform infringe

exemplary claims of the Asserted Patents are attached hereto as Exhibits G–L.

       B.      Baxter’s Knowledge of the Asserted Patents and of Its Infringement

       70.     On information and belief, Baxter has had knowledge of the Asserted Patents since

at least the launch of the Accused Infusion Systems. On information and belief, Baxter knew,

reasonably should have known, and/or was willfully blind that the Accused Infusion Systems

infringe one or more claims of the Asserted Patents. Based on Baxter’s knowledge of the Asserted

Patents and how the Accused Infusion Systems operate, Baxter knew of, should have known of,

and/or was willfully blind to its infringement of the Asserted Patents before and at least after this

Complaint was filed.

       71.     Baxter has not obtained a license to the Asserted Patents or otherwise obtained

permission from BD to make, use, sell, offer to sell, or import the inventions claimed in the

Asserted Patents.

       72.     On information and belief, Baxter is a sophisticated company in the market of

infusion pumps. Baxter and BD are vigorous competitors in the infusion pump market. On

information and belief, Baxter is aware of the risk of infringement of BD’s patents, including the




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Asserted Patents. In fact, the Accused Infusion Systems function in the same or substantially the

same manner as the claimed inventions of the Asserted Patents. See, e.g. Ex. G-L.

       73.     On information and belief, Baxter monitors, investigates, and assesses BD products

and patents, including for patent infringement risk assessment. On information and belief, Baxter

monitors, investigates, and assesses BD’s patent portfolio as it relates to infusion pump systems.

On information and belief, Baxter monitors, investigates, and assesses BD’s Alaris™ pump

technology.

       74.     Baxter and BD also have an extensive litigation history. Baxter and BD companies

have previously been adverse in multiple patent litigations, including patent litigation relating to

infusion pumps. On information and belief, Baxter became aware during these prior litigations

that it needed licenses to the Asserted Patents, but did not obtain them.

       75.     On information and belief, Baxter studied BD’s patent portfolio during the

prosecution of Baxter’s patent applications. For instance, multiple patent publication documents

naming BD companies as the applicant and/or assignee, including CareFusion 303, Inc., have been

cited on the face of multiple patent publication documents listing Baxter International Inc. as

applicant and/or assignee. Multiple patent publication documents naming BD companies as the

applicant and/or assignee, including CareFusion 303, Inc., have been cited on the face of multiple

patent publication documents listing Baxter Healthcare Corp. as applicant and/or assignee. As one

example, U.S. Patent No. 11,177,026 is listed on its face as assigned to Baxter International Inc.

and Baxter Healthcare SA and cites U.S. Patent No. 9,053,520, the parent patent to the ’180 patent

and ’058 patent.

       76.     On information and belief, despite tracking BD, BD’s patent portfolio, and

Alaris™, Baxter has continued to knowingly infringe, or has been willfully blind to infringement




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of, the Asserted Patents, including by continuing to make, use, import, promote, market, sell, and

offer to sell the Accused Infusion Systems with knowledge of their infringement, and by

continuing to instruct the use of the Accused Infusion Systems in a way that infringes the Asserted

Patents with knowledge that such instructions would lead to infringement of the Asserted Patents.

       77.     Baxter’s knowledge of the Asserted Patents and its infringement of those patents is

further shown in Baxter’s filings with government regulators during the development of the

Accused Infusion Systems and after their launch. For example, on information and belief, Baxter’s

filings with the United States Securities and Exchange Commission (“SEC”) from before and after

the launch of the Accused Infusion Systems admit that patent litigations could result in Baxter

having to make “significant royalty or other payments” and could “result in injunctions that can

prevent the sale of products.” See, e.g., Baxter International Inc., 2024 Annual Report (Form 10-

K) (Feb. 21, 2025) at 5. Baxter explained it must “keep pace with changing consumer preferences

and needs or advances in technology.” Id. at 9. Baxter acknowledged its financial performance

could suffer if Baxter’s “competitors develop more effective or affordable products or achieve

earlier patent protection or product commercialization than” Baxter. Id. at 16. Despite these

statements, Baxter launched the Accused Infusion Systems without licenses or permission to use

the Asserted Patents.

       78.     Baxter is further aware of the Asserted Patents and of Baxter’s infringement at least

by the date of filing of this Complaint. Since the filing of this Complaint, Baxter has continued to

infringe the Asserted Patents, including by continuing to make, use, import, promote, market, sell,

and offer to sell the Accused Infusion Systems with knowledge of its infringement, and by

continuing to instruct the use of the Accused Infusion Systems in a way that infringes the Asserted

Patents with knowledge that such instructions would lead to infringement of the Asserted Patents.




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Since the filing of this Complaint, Baxter has continued to infringe the Asserted Patents without

seeking or obtaining a license to the Asserted Patents.

                VI.     COUNT I: Infringement of U.S. Patent No. 11,289,180

       79.     BD hereby incorporates by reference the foregoing paragraphs 1-78.

       80.     Baxter has engaged in the commercial manufacture, use, offer for sale, or sale of

the Accused Infusion Systems in the United States, and/or the importation of Accused Infusion

Systems into the United States. Pursuant to 35 U.S.C. § 271, these acts constitute direct and

indirect infringement, either literally or under the doctrine of equivalents, of one or more claims

of the ’180 patent.

       81.     Baxter infringes the ’180 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States and by actively inducing and

contributing to infringement by others, in violation of 35 U.S.C. § 271 (a)-(c) and/or (f). A claim

chart detailing Baxter’s infringement of one or more claims of the ’180 patent is attached as Exhibit

G.

       82.     Baxter also has induced infringement, and continues to induce infringement, of one

or more claims of the ’180 patent. Baxter knowingly and intentionally induces third parties to

infringe the ’180 patent, including health care providers, by selling or otherwise supplying the

Accused Infusion Systems with the knowledge and intent that third parties will use the Accused

Infusion Systems to infringe the ’180 patent. Baxter knowingly and intentionally provides third

parties with instructions on how to use the Accused Infusion Systems in a way that infringes the

’180 patent. See Ex. G.

       83.     Baxter also has contributed and will contribute to the infringement by third parties

of one or more claims of the ’180 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States, knowing that the Accused


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Infusion Systems are especially made or adapted to infringe the ’180 patent and knowing that the

Accused Infusion Systems are not a staple of commerce suitable for non-infringing use.

       84.     On information and belief, Baxter has had knowledge of the ’180 patent since at

least the launch of the Accused Infusion Systems. Baxter knows that its manufacturing, using,

selling, offering to sell, and/or importing of the Accused Infusion Systems does and will constitute

infringement of the ’180 patent.

       85.     Baxter’s infringement of the ’180 patent has been, and continues to be, willful and

deliberate since at least the launch date of the Accused Infusion Systems because, despite an

objectively high likelihood that Baxter’s actions do and will constitute infringement of a valid

patent, Baxter continues to manufacture, use, sell, offer to sell, and/or import the Accused Infusion

Systems in or into the United States.

       86.     Baxter has committed and will commit these acts of infringement without license

or authorization.

                VII.   COUNT II: Infringement of U.S. Patent No. 11,901,058

       87.     BD hereby incorporates by reference the foregoing paragraphs 1-78.

       88.     Baxter has engaged in the commercial manufacture, use, offer for sale, or sale of

the Accused Infusion Systems in the United States, and/or the importation of Accused Infusion

Systems into the United States. Pursuant to 35 U.S.C. § 271, these acts constitute direct and

indirect infringement, either literally or under the doctrine of equivalents, of one or more claims

of the ’058 patent.

       89.     Baxter infringes the ’058 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States and by actively inducing and

contributing to infringement by others, in violation of 35 U.S.C. § 271 (a)-(c) and/or (f). A claim




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chart detailing Baxter’s infringement of one or more claims of the ’058 patent is attached as Exhibit

H.

       90.     Baxter also has induced infringement, and continues to induce infringement, of one

or more claims of the ’058 patent. Baxter knowingly and intentionally induces third parties to

infringe the ’058 patent, including health care providers, by selling or otherwise supplying the

Accused Infusion Systems with the knowledge and intent that third parties will use the Accused

Infusion Systems to infringe the ’058 patent. Baxter knowingly and intentionally provides third

parties with instructions on how to use the Accused Infusion Systems in a way that infringes the

’058 patent. See Ex. H.

       91.     Baxter also has contributed and will contribute to the infringement by third parties

of one or more claims of the ’058 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States, knowing that the Accused

Infusion Systems are especially made or adapted to infringe the ’058 patent and knowing that the

Accused Infusion Systems are not a staple of commerce suitable for non-infringing use.

       92.     On information and belief, Baxter has had knowledge of the ’058 patent since at

least the launch of the Accused Infusion Systems. Baxter knows that its manufacturing, using,

selling, offering to sell, and/or importing of the Accused Infusion Systems does and will constitute

infringement of the ’058 patent.

       93.     Baxter’s infringement of the ’058 patent has been, and continues to be, willful and

deliberate since at least the launch date of the Accused Infusion Systems because, despite an

objectively high likelihood that Baxter’s actions do and will constitute infringement of a valid

patent, Baxter continues to manufacture, use, sell, offer to sell, and/or import the Accused Infusion

Systems in or into the United States.




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       94.     Baxter has committed and will commit these acts of infringement without license

or authorization.

               VIII. COUNT III: Infringement of U.S. Patent No. 11,324,880

       95.     BD hereby incorporates by reference the foregoing paragraphs 1-78.

       96.     Baxter has engaged in the commercial manufacture, use, offer for sale, or sale of

the Accused Infusion Systems in the United States, and/or the importation of Accused Infusion

Systems into the United States. Pursuant to 35 U.S.C. § 271, these acts constitute direct and

indirect infringement, either literally or under the doctrine of equivalents, of one or more claims

of the ’880 patent.

       97.     Baxter infringes the ’880 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States and by actively inducing and

contributing to infringement by others, in violation of 35 U.S.C. § 271 (a)-(c) and/or (f). A claim

chart detailing Baxter’s infringement of one or more claims of the ’880 patent is attached as Exhibit

I.

       98.     Baxter also has induced infringement, and continues to induce infringement, of one

or more claims of the ’880 patent. Baxter knowingly and intentionally induces third parties to

infringe the ’880 patent, including health care providers, by selling or otherwise supplying the

Accused Infusion Systems with the knowledge and intent that third parties will use the Accused

Infusion Systems to infringe the ’880 patent. Baxter knowingly and intentionally provides third

parties with instructions on how to use the Accused Infusion Systems in a way that infringes the

’880 patent. See Ex. I.

       99.     Baxter also has contributed and will contribute to the infringement by third parties

of one or more claims of the ’880 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States, knowing that the Accused


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Infusion Systems are especially made or adapted to infringe the ’880 patent and knowing that the

Accused Infusion Systems are not a staple of commerce suitable for non-infringing use.

       100.    On information and belief, Baxter has had knowledge of the ’880 patent since at

least the launch of the Accused Infusion Systems. Baxter knows that its manufacturing, using,

selling, offering to sell, and/or importing of the Accused Infusion Systems does and will constitute

infringement of the ’880 patent.

       101.    Baxter’s infringement of the ’880 patent has been, and continues to be, willful and

deliberate since at least the launch date of the Accused Infusion Systems because, despite an

objectively high likelihood that Baxter’s actions do and will constitute infringement of a valid

patent, Baxter continues to manufacture, use, sell, offer to sell, and/or import the Accused Infusion

Systems in or into the United States.

       102.    Baxter has committed and will commit these acts of infringement without license

or authorization.

               IX.     COUNT IV: Infringement of U.S. Patent No. 12,278,868

       103.    BD hereby incorporates by reference the foregoing paragraphs 1-78.

       104.    Baxter has engaged in the commercial manufacture, use, offer for sale, or sale of

the Accused Infusion Systems in the United States, and/or the importation of Accused Infusion

Systems into the United States. Pursuant to 35 U.S.C. § 271, these acts constitute direct and

indirect infringement, either literally or under the doctrine of equivalents, of one or more claims

of the ’868 patent.

       105.    Baxter infringes the ’868 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States and by actively inducing and

contributing to infringement by others, in violation of 35 U.S.C. § 271 (a)-(c) and/or (f). A claim




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chart detailing Baxter’s infringement of one or more claims of the ’868 patent is attached as Exhibit

J.

       106.    Baxter also has induced infringement, and continues to induce infringement, of one

or more claims of the ’868 patent. Baxter knowingly and intentionally induces third parties to

infringe the ’868 patent, including health care providers, by selling or otherwise supplying the

Accused Infusion Systems with the knowledge and intent that third parties will use the Accused

Infusion Systems to infringe the ’868 patent. Baxter knowingly and intentionally provides third

parties with instructions on how to use the Accused Infusion Systems in a way that infringes the

’868 patent. See Ex. J.

       107.    Baxter also has contributed and will contribute to the infringement by third parties

of one or more claims of the ’868 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States, knowing that the Accused

Infusion Systems are especially made or adapted to infringe the ’868 patent and knowing that the

Accused Infusion Systems are not a staple of commerce suitable for non-infringing use.

       108.    On information and belief, Baxter has had knowledge of the ’868 patent since at

least the launch of the Accused Infusion Systems. Baxter knows that its manufacturing, using,

selling, offering to sell, and/or importing of the Accused Infusion Systems does and will constitute

infringement of the ’868 patent.

       109.    Baxter’s infringement of the ’868 patent has been, and continues to be, willful and

deliberate since at least the launch date of the Accused Infusion Systems because, despite an

objectively high likelihood that Baxter’s actions do and will constitute infringement of a valid

patent, Baxter continues to manufacture, use, sell, offer to sell, and/or import the Accused Infusion

Systems in or into the United States.




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       110.    Baxter has committed and will commit these acts of infringement without license

or authorization.

                X.      COUNT V: Infringement of U.S. Patent No. 12,028,414

       111.    BD hereby incorporates by reference the foregoing paragraphs 1-78.

       112.    Baxter has engaged in the commercial manufacture, use, offer for sale, or sale of

the Accused Infusion Systems in the United States, and/or the importation of Accused Infusion

Systems into the United States. Pursuant to 35 U.S.C. § 271, these acts constitute direct and

indirect infringement, either literally or under the doctrine of equivalents, of one or more claims

of the ’414 patent.

       113.    Baxter infringes the ’414 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States and by actively inducing and

contributing to infringement by others, in violation of 35 U.S.C. § 271 (a)-(c) and/or (f). A claim

chart detailing Baxter’s infringement of one or more claims of the ’414 patent is attached as Exhibit

K.

       114.    Baxter also has induced infringement, and continues to induce infringement, of one

or more claims of the ’414 patent. Baxter knowingly and intentionally induces third parties to

infringe the ’414 patent, including health care providers, by selling or otherwise supplying the

Accused Infusion Systems with the knowledge and intent that third parties will use the Accused

Infusion Systems to infringe the ’414 patent. Baxter knowingly and intentionally provides third

parties with instructions on how to use the Accused Infusion Systems in a way that infringes the

’414 patent. See Ex. K.

       115.    Baxter also has contributed and will contribute to the infringement by third parties

of one or more claims of the ’414 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States, knowing that the Accused


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Infusion Systems are especially made or adapted to infringe the ’414 patent and knowing that the

Accused Infusion Systems are not a staple of commerce suitable for non-infringing use.

       116.    On information and belief, Baxter has had knowledge of the ’414 patent since at

least the launch of the Accused Infusion Systems. Baxter knows that its manufacturing, using,

selling, offering to sell, and/or importing of the Accused Infusion Systems does and will constitute

infringement of the ’414 patent.

       117.    Baxter’s infringement of the ’414 patent has been, and continues to be, willful and

deliberate since at least the launch date of the Accused Infusion Systems because, despite an

objectively high likelihood that Baxter’s actions do and will constitute infringement of a valid

patent, Baxter continues to manufacture, use, sell, offer to sell, and/or import the Accused Infusion

Systems in or into the United States.

       118.    Baxter has committed and will commit these acts of infringement without license

or authorization.

               XI.     COUNT VI: Infringement of U.S. Patent No. 12,205,703

       119.    BD hereby incorporates by reference the foregoing paragraphs 1-78.

       120.    Baxter has engaged in the commercial manufacture, use, offer for sale, or sale of

the Accused Infusion Systems in the United States, and/or the importation of Accused Infusion

Systems into the United States. Pursuant to 35 U.S.C. § 271, these acts constitute direct and

indirect infringement, either literally or under the doctrine of equivalents, of one or more claims

of the ’703 patent.

       121.    Baxter infringes the ’703 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States and by actively inducing and

contributing to infringement by others, in violation of 35 U.S.C. § 271 (a)-(c) and/or (f). A claim




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chart detailing Baxter’s infringement of one or more claims of the ’703 patent is attached as Exhibit

L.

       122.    Baxter also has induced infringement, and continues to induce infringement, of one

or more claims of the ’703 patent. Baxter knowingly and intentionally induces third parties to

infringe the ’703 patent, including health care providers, by selling or otherwise supplying the

Accused Infusion Systems with the knowledge and intent that third parties will use the Accused

Infusion Systems to infringe the ’703 patent. Baxter knowingly and intentionally provides third

parties with instructions on how to use the Accused Infusion Systems in a way that infringes the

’703 patent. See Ex. L.

       123.    Baxter also has contributed and will contribute to the infringement by third parties

of one or more claims of the ’703 patent by making, using, offering to sell, selling, and/or

importing the Accused Infusion Systems in or into the United States, knowing that the Accused

Infusion Systems are especially made or adapted to infringe the ’703 patent and knowing that the

Accused Infusion Systems are not a staple of commerce suitable for non-infringing use.

       124.    On information and belief, Baxter has had knowledge of the ’703 patent since at

least the launch of the Accused Infusion Systems. Baxter knows that its manufacturing, using,

selling, offering to sell, and/or importing of the Accused Infusion Systems does and will constitute

infringement of the ’703 patent.

       125.    Baxter’s infringement of the ’703 patent has been, and continues to be, willful and

deliberate since at least the launch date of the Accused Infusion Systems because, despite an

objectively high likelihood that Baxter’s actions do and will constitute infringement of a valid

patent, Baxter continues to manufacture, use, sell, offer to sell, and/or import the Accused Infusion

Systems in or into the United States.




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         126.   Baxter has committed and will commit these acts of infringement without license

or authorization.

                             XII.    DEMAND FOR JURY TRIAL

         127.   Pursuant to Federal Rule of Civil Procedure 38(b), BD demands a trial by jury on

all issues so triable.

                                 XIII. PRAYER FOR RELIEF

WHEREFORE, BD seeks a judgment awarding the following relief:

         128.   Adjudge and enter judgment that Baxter directly or indirectly infringes, literally or

under the doctrine of equivalents, at least one claim of each of the Asserted Patents under 35 U.S.C.

§ 271.

         129.   Award BD damages adequate to compensate it for Baxter’s acts of patent

infringement, together with prejudgment and post-judgment interest under 35 U.S.C. §§ 154, 284

and other permitted costs, expenses, and disbursements.

         130.   Declare that Baxter’s infringement is willful and award to BD all other damages

permitted by 35 U.S.C. § 284, including enhanced damages up to three times the amount of

compensatory damages found.

         131.   Preliminarily and permanently enjoin Baxter, all persons acting in concert or

participation with Baxter, all parent and subsidiary corporations and affiliates, and their assigns

and successors in interest from continuing acts of infringement of the Asserted Patents.

         132.   Declare that this case is exceptional and award BD costs and recoverable attorneys’

fees incurred in having to defend this action, pursuant to 35 U.S.C. § 285 and as otherwise allowed.

         133.   Provide all other equitable and legal relief the Court deems just and proper.




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 May 12, 2025




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